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                EXHIBIT A
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Subject:
Subject:       RE: Dominic Box
Date:
Date:          Tuesday, January 21, 2025 at 5:45:40 PM Eastern Standard Time
From:
From:          Mazzuchelli, Andrew (DOC)
To:
To:          Amy Collins
Attachments:
Attachments: image001.png


Once the motion to dismiss is granted by the court, and the USMS will provide DOC with a release order.
In checking the docket it doesn’t seem like the motion to dismiss has been granted yet; I only see the
proposed order not yet signed by Judge Kollar-Kotelly.

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Office of the General Counsel
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www.doc.dc.gov




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From: Amy Collins <Amy@amyccollinslaw.com>
Sent:
Sent: Tuesday, January 21, 2025 5:35 PM
To:
To: Mazzuchelli, Andrew (DOC) <andrew.mazzuchelli@dc.gov>
Subject:
Subject: Dominic Box

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